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                                                                                                                            Gibson, Dunn & Crutcher LLP

                                                                                                                            1050 Connecticut Avenue, N.W.
                                                                                                                            Washington, D.C. 20036-5306
                                                                                                                            Tel 202.955.8500
                                                                                                                            www gibsondunn.com

                                                                                                                            Eugene Scalia
                                                                                                                            Direct: +1 202.955.8210
                                                                                                                            Fax: +1 202.530.9606
                                                                                                                            EScalia@gibsondunn.com



December 15, 2023

VIA CM/ECF

Patricia S. Dodszuweit, Clerk
Office of the Clerk
U.S. Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

Re:      In re Coinbase, Inc., No. 23-1779 (3d Cir.)

Dear Ms. Dodszuweit:
         Earlier today, the Securities and Exchange Commission (SEC or Commis-

sion) announced that it has finally taken the long-withheld action that Coinbase,

Inc.’s mandamus petition sought to compel: issuance of a formal, judicially re-

viewable decision on Coinbase’s petition to engage in rulemaking—which the

SEC had let languish for well over a year. As many actions by the Commission

and public statements by its Chair had foreordained, see, e.g., Dkt. 36, at 5-8, the

Commission today “denie[d]” Coinbase’s rulemaking request, confirming the

SEC’s position that “rulemaking” to clarify its interpretation of the securities

laws in this area is “unwarranted” even while it continues a campaign of regula-

tion by enforcement against Coinbase and others, Dkt. 39, Ex. A, at 1.

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                  Munich  New York  Orange County  Palo Alto  Paris  San Francisco  Singapore  Washington, D.C.
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      Coinbase’s mandamus petition thus has now achieved its stated purpose of

compelling the SEC to act on Coinbase’s request for rulemaking. The Commis-

sion’s formal denial of that request makes explicit what its words and actions had

long shown was the Commission’s position. By doing so, the SEC has cleared

the path for judicial review that its unexplained inaction had long obstructed.

Coinbase accordingly agrees with the Commission’s submission that this man-

damus proceeding, brought to challenge the agency’s refusal to act on Coinbase’s

rulemaking petition, is now moot. Dkt. 39, at 2. Coinbase is filing today in this

Court a petition for review of the Commission’s denial of Coinbase’s rulemaking

petition.

Respectfully submitted,

/s/ Eugene Scalia
Eugene Scalia (D.C. Bar No. 447524)
  Counsel of Record
GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Avenue, N.W.
Washington, D.C. 20036
(202) 955-8500
EScalia@gibsondunn.com
cc: Counsel of record (via CM/ECF)
